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IN THE UNITED STATES DISTRICT
COURT FOR THE NORTHERN DISTRICT
OF ILLINOIS EASTERN DIVISION

NOTRE DAME AFFORDABLE HOUSING, INC.
and CHARLENE M. MARSH,

Plaintiffs.
Case No. 18-CV-08116

V.
Judge Charles R. Norgle

CITY OF CHICAGO, et al.,

Defendants.

 

 

ORDER

Plaintiffs are granted leave to file a response to the City Defendants’ reply memorandum in support
of their motion to dismiss. Any supplemental submission by Plaintiffs shall be filed no later than
ENTER; ) ?

November 15, 2019.
LV ili’, A Yl -

IT IS SO ORDERED.
CHARLES RONALD NORGLEWudge/
United States District Court /f

 

 

DATE: October 25, 2019
